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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS


Lisa Ricchio
                     Plaintiff(s)

               v.                                CIVIL ACTION NO. 1:15-cv-13519-FDS



Clark McLean et al
                     Defendant(s)


                              JUDGMENT IN A CIVIL CASE

Saylor U.S.D.J



       IT IS ORDERED AND ADJUDGED: Because McLean has defaulted and no
       hearing is necessary, plaintiff Lisa Ricchio’s application for default judgment
       against defendant Clark McLean is GRANTED.




                                                        ROBERT M. FARRELL
                                                        CLERK OF COURT



Dated: 12/19/2019
                                                    By /s/ Taylor Halley
                                                       Deputy Clerk
